447 F.2d 1303
    James Thaddeus CRONAN and Linda Darlene Weiymann,Petitioners-Appellants,v.UNITED STATES of America, Respondent-Appellee.No. 30597 Summary Calendar.**(1) Rule 18, 5 Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409.
    United States Court of Appeals, Fifth Circuit.
    Aug. 30, 1971.
    
      Sam A. LeBlanc, New Orleans, la., for petitioners-appellants.
      Gerald J. Gallinghouse, U.S. Atty., Michael H. Ellis, Asst. U.S. Atty., New Orleans, La., for respondent-appellee.
      Before JOHN R. BROWN, Chief Judge, INGRAHAM and RONEY, Circuit judges.
      PER CURIAM:
    
    
      1
      Cronan and Weiymann appeal from a judgment of the district court denying their petition pursuant to 28 U.S.C. 2255.  Each was convicted of violation of 18 U.S.C. 472 upon their pleas of guilty.  Each was represented by counsel of his own selection.
    
    The issues raised upon their appeal are:
    
      2
      '(1) That they were denied effective assistance of counsel, and/or
    
    
      3
      (2) That defendants' plea of guilty was not voluntarily given with full knowledge of all their rights.'
    
    
      4
      We find no merit to their contentions.  Their pleas of guilty clearly satisfy the requirements of Busby v. Holman, 356 F.2d 75 (5 Cir., 1966) and companion cases.  They had the advice of counsel of their own selection and their pleas were voluntarily and understandingly made.
    
    
      5
      The judgment of the district court is affirmed.
    
    